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UNITED sTATEs oF AMERICA, ) W/%
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Piainafr, )
)
VS. ) No. 03-10052-T
)
DAVID PASCAL )
)
Defendant. )

 

ORDER ON PENDING MOTIONS

 

On l\/larch 22, 2005, the United States Court of Appeals for the Sixth Circuit vacated
the sentence imposed in this case on defendant David Pascal and remanded for re-sentencing
in light of United States v. Booker, 125 S. Ct. 738 (2005). A re-sentencing hearing is
scheduled for August 17, 2005 . On August l, 2005, defendant filed an Amended Motion
for Re-sentencing, a Motion to Waive Appearance and a Motion to Clarify Judgment.

The motion for re-sentencing, While not entirely clear, appears to ask the Court to
address at the upcoming hearing certain issues regarding mandatory sentencing
enhancements This motion is DENIED as unnecessary. The defendant is not limited
regarding the issues he may raise at the re-sentencing hearing, and the Court Will consider

those issues as appropriatel

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with Ftute 55 and/or 32(b) FRCrP on

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In the motion to clarify judgment, defendant states that it was his understanding that
payment of the restitution ordered in this case would be deferred until his term of supervised
release began. Defendant has now been told by officials With the Bureau of Prisons that
payment must begin immediately He asks the Court to clarify the ori ginal judgment to show
that restitution is deferred until his period of incarceration is complete.

This is an issue that should be raised at the August 17 resentencing hearingl The
Court’s ruling will then be reflected in the amended judgment which will be entered
following that hearing. Thus, modification of the original judgment is not necessary and is
DENIED.

Defendant’s motion to waive his appearance at the resentencing hearing asserts,
without any explanation, that if he is transferred to this Court from his place of incarceration,
it will adversely affect his current incarceration status. However, the Court fails to see how
transporting the defendant from a federal correctional institution to a federal court for
re-sentencing on his federal conviction will have any effect whatsoever on his status as a
federal prisoner. The motion to waive appearance is also DENIED.

lT IS SO ORDERED.

JAMES “`p. ToDD
UNITE ' sTATEs DIsTRlCT JUDGE

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DATE

 

   

UNITED `SETATDISTRICT COURT - WESTERN DTRCT oFTENNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 104 in
case 1:03-CR-10052 was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

